      Case 5:21-cr-00009-LGW-BWC Document 810 Filed 12/15/23 Page 1 of 8




               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        WAYCROSS DIVISION

UNITED STATES OF AMERICA,               *

             Plaintiff,                 *

vs.                                     *   CASE NO.: 5:21CR0009-01

MARIA LETICIA PATRICIO (01),            *

             Defendant.                 *


            MOTION TO DISMISS COUNT 53 OF INDICTMENT

       Count 53 of the indictment charges MARIA LETICIA PATRICIO and her

23 co-defendants with a money laundering conspiracy in violation of 18 U.S.C.

§1956(h). (Doc 3-Pgs 40-44) It identifies the “specified unlawful activity” as

“conspiracy to commit mail fraud, in violation of Title 18, United States Code,

Section 1349, and conspiracy to commit forced labor, in violation of Title 18,

United States Code, Section 1594 . . .” (Doc 3-Pg 41) The indictment later

contends that the conspirators engaged in “financial transactions affecting

interstate commerce, using funds which were, and which the defendants knew to

be, proceeds of the unlawful conspiracy to commit mail fraud and conspiracy to

commit forced labor. . . .” (Doc 3-Pg 41)(emphasis added).

       Neither conspiracy to commit mail fraud under 18 U.S.C. §1349 nor

conspiracy to commit forced labor under 18 U.S.C. §1594 is a “specified unlawful
                                        1
     Case 5:21-cr-00009-LGW-BWC Document 810 Filed 12/15/23 Page 2 of 8




activity” under the definitions applicable to §1956 money laundering offenses.

Relying on Fed. 12(b)(3)(B)(v), PATRICIO moves to dismiss Count 53 for failure

to state an offense.

      Count 53 charges specifically alleges that the defendants conspired to:

      (1)    conduct and attempt to conduct financial transactions affecting

             interstate commerce with funds which were proceeds of specified

             unlawful activity, conspiracy to commit mail fraud, in violation of 18

             U.S.C. § 1349, and conspiracy to commit forced labor in violation of

             18 U.S.C. § 1594, and which the defendants knew to be proceeds of

             unlawful activity, and

      (2)    to transport cash to the United States from a place outside of the U.S.,

             with the intent to promote the carrying on of the specified unlawful

             activity aforesaid, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) and

             1956(a)(2)(A).

(Doc 3-Pg 41) Count 53 lists 22 separate transactions, and specifically mentions

PATRICIO in “t”, stating “[o]n or about November 18, 2019, Defendant Maria

Leticia Patricio’s husband purchased the OK Corral, a restaurant, dance and night

club in Alma, Georgia $212,000.00 in cash.” (Doc 3-Pg 44).




                                         2
    Case 5:21-cr-00009-LGW-BWC Document 810 Filed 12/15/23 Page 3 of 8




                ARGUMENT AND CITATION OF AUTHORITY.

      Rule 12 requires a defendant to raise by pretrial motion a claim that an

indictment fails to state an offense. See Fed. R. Crim. P. 12(b)(3)(B)(v). A court

may rule on the motion if it “can be determined without a trial on the merits.” Id.

“An indictment is considered legally sufficient if it: (1) presents the essential

elements of the charged offense, (2) notifies the accused of the charges to be

defended against, and (3) enables the accused to rely upon a judgment under the

indictment as a bar against double jeopardy for any subsequent prosecution for the

same offense.” See United States v. Schmitz, 634 F.3d 1247 (11th Cir. 2011);

United States v. Jordan, 582 F.3d 1239, 1245 (11th Cir. 2009). To overcome such

a motion, the indictment must include every essential element of the offense. See

United States v. Perry, 757 F.3d 166, 171 (4th Cir. 2014).

      “In ruling on a motion to dismiss [an indictment] for failure to state an

offense, a district court is limited to reviewing the face of the indictment and, more

specifically, the language used to charge the crimes.” United States v. Sharpe, 438

F.3d 1257, 1263 (11th Cir. 2006) (emphasis in original): see also United States v.

Critzer, 951 F.2d 306, 307 (11th Cir. 1992). It is well-settled that “a court may not

dismiss an indictment . . . on a determination of facts that should have been

developed at trial.” Sharpe, 438 F.3d at 1263 (citing United States v. Torkington,

812 F.2d 1347, 1354 (11th Cir. 1987)).


                                          3
    Case 5:21-cr-00009-LGW-BWC Document 810 Filed 12/15/23 Page 4 of 8




      This indictment alleges a money laundering conspiracy in violation of 18

U.S.C. §1956(a)(1)(A)(i) and (a)(2)(A). (Doc 3-Pgs 41, 44) Both of those statutory

subsections use the term “specified unlawful activity” – either with respect to

      • engaging in a transaction “which in fact involves the proceeds of a

         specified unlawful activity” with an “intent to promote the carrying on of

         specified unlawful activity” (§1956(a)(1)(A)(i)) or

      • transferring funds internationally “with the intent to promote the carrying

         on of a specified unlawful activity” (§1956(a)(2)(A)).

18 U.S.C. §1956(a)(1)(A)(i), (2)(A).

      There is no doubt that proving “specified unlawful activity” is an element of

both of these §1956(a) subsections. To convict a person of promotional money

laundering under Sections 1956(a)(1)(A)(i) and (h), the government must prove: 1)

the elements of the 18 U.S.C. § 1956(a)(1)(A)(i) violation, 2) that two or more

people agreed to accomplish an unlawful plan to violate that law, and 3) the

defendant knew about the plan’s purpose and voluntarily joined in it. Eleventh

Circuit Pattern Jury Instructions, Offense Instructions O74.5; United States v.

Martinelli, 454 F.3d 1300, 1318 (11th Cir. 2006) (trial court properly instructed

jury that the financial transaction had to be conducted or attempted with intent to

promote the specified unlawful activity). To convict a person of money laundering

conspiracy under Sections 1956(a)(2)(A) and (h), the government must prove that

                                         4
     Case 5:21-cr-00009-LGW-BWC Document 810 Filed 12/15/23 Page 5 of 8




the “defendant: (1) conspired; (2) to transport funds between the United States and

another country; (3) with the intent to promote the carrying on of a specified

unlawful activity.” United States v. Trejo, 610 F.3d 308, 313 (5th Cir. 2010)

(citations omitted).

      “Specified unlawful activity” is a statutorily defined term. See 18 U.S.C.

§1956(c)(7). It lists a number of offenses, including “any act or activity

constituting an offense listed in section 1961(1) of this title . . .” 18 U.S.C.

§1956(c)(7)(A). Neither specified unlawful activity identified in count 53 –

“conspiracy to commit mail fraud, in violation of Title 18, United States Code,

Section 1349, and conspiracy to commit forced labor, in violation of Title 18,

United States Code, Section 1594” – appears in that list. Undoubtedly section

1961(1) lists violations of “section 1341 (relating to mail fraud)” and “sections

1581-1592 (relating to peonage, slavery, and trafficking in persons.” 18 U.S.C.

§1961(1). But the §1349 and §1594 conspiracy charges – which is the “specified

unlawful activity” alleged in count 53 – are not included in the statutory definition,

meaning that they are not “specified unlawful activity.”

      Thus, the indictment is fatally defective in failing to allege a qualifying

specified unlawful activity. See United States v. Martino, 648 F.2d 367, 400 (5th

Cir. June 19, 1981)(observing that §1961(1) “lists mail fraud as a predicate

offense; conspiracy to commit mail fraud is not included and is therefore not a


                                          5
     Case 5:21-cr-00009-LGW-BWC Document 810 Filed 12/15/23 Page 6 of 8




predicate act” for RICO purposes)1; see also United States v. Liersch, 2005 U.S.

Dist. LEXIS 47016, at *11 (S.D. Cal. May 2, 2005)(noting that conspiracy to

commit mail fraud does not meet the definition of specified unlawful activity);

United States v. Ojedokun, 517 F.Supp.3d 444, 453 (D. Md. 2021)(noting that

defendant moved post-trial to dismiss the original indictment which alleged that

the specified unlawful activity for the money laundering conspiracy was

conspiracy to commit wire fraud and that the government acknowledged that

pleading wire fraud conspiracy in the original indictment was not an enumerated

specified unlawful activity); compare 18 U.S.C. §981(a)(1)(C) (providing that

property is subject to civil forfeiture if it is derived from proceeds traceable to “any

offense constituting ‘specified unlawful activity’ (as defined in section 1956(c)(7)

of this title), or a conspiracy to commit such offense”)(emphasis added).

      Here, the government has alleged two specified unlawful activities – mail

fraud conspiracy and conspiracy to commit forced labor – that are not specified

unlawful activities for purposes of money laundering.

      Accordingly, count 53, money laundering conspiracy, should be dismissed.

      WHEREFORE, based on the reasons and authorities cited above,

PATRICIO respectfully requests that her Motion to Dismiss Count 53 of the

indictment be granted.

1
 Section 1961(1) defines “racketeering activity,” but §1956(c)(7) uses that
definition for “specified unlawful activity.”
                                           6
    Case 5:21-cr-00009-LGW-BWC Document 810 Filed 12/15/23 Page 7 of 8




     This 14th day of December, 2023.


                                        /s/ Juanita M. Holsey
                                        Juanita M. Holsey
                                        Attorney Bar Number: 172161
                                        Attorney for Defendant

The Holsey Law Firm, LLC
P.O. Box 132
Jesup, GA 31598
Telephone: (912) 208-2353
Facsimile: (877) 349-4076
E-mail: juanita@holseylaw.com




                                        7
     Case 5:21-cr-00009-LGW-BWC Document 810 Filed 12/15/23 Page 8 of 8




                            CERTIFICATE OF SERVICE

      The undersigned certifies that I have on this day served all the parties in this

case in accordance with the notice of electronic filing (“NEF”) which was

generated as a result of electronic filing in this court.

      This 14th day of December, 2023.

                                            /s/ Juanita M. Holsey
                                            Juanita M. Holsey
                                            Attorney Bar Number: 172161
                                            Attorney for Defendant

The Holsey Law Firm, LLC
P.O. Box 132
Jesup, GA 31598
Telephone: (912) 208-2353
Facsimile: (877) 349-4076
E-mail: juanita@holseylaw.com




                                            8
